Case 1:17-cv-05221-LLS Document 234 Filed 03/25/23 Page 1 of 4

FRANK & RICE
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March 25, 2023
VIA ECF

Hon. Louis L. Stanton

U.S. District Court for the Southern District of New York
Daniel Patrick Moynihan

United States Courthouse

500 Pear! Street

New York, NY 10007

Re: Griffin , et. al. v. Sheeran, et. al. // Case Number 2017-ev-5221 (LLS)

Dear Judge Stanton:

We represent the Plaintiffs in the above-captioned matter. Pursuant to Standing Order
M10-468 of this Court which requires pre-approval/permission to bring technology into the
courthouse, we are requesting said pre-approval/permission for the same in connection with the
trial in the above action scheduled to commence on April 24, 2023. Concurrent with this
request, we also ask that the Court permit the Plaintiffs’ devices access to the Court’s WIFI
Internet.

The pertinent application form, with addendum, is, respectfully, submitted herewith for

the Court’s consideration. Thank you for your anticipated attention and consideration with
respect to the foregoing and/or enclosed.

Respectfully Submitted,
Patrick R. Frank, Esq.

Enclosure(s): M10-468 Application
and Addendum
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Case 1:14-mc-00047-P1 Document 2 Filed 02/27/14 Page 5 of 6

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

IN THE MATTER OF AN APPLICATION

TO BRING PERSONAL ELECTRONIC DEVICE(S)
OR GENERAL PURPOSE COMPUTING DEVICE(S)
INTO THE COURTHOUSES OF THE

SOUTHERN DISTRICT OF NEW YORK

FOR USE IN A PROCEEDING OR TRIAL

 

The following Order is subject to the definitions, obligations and restrictions imposed
pursuant to Standing Order M10-468, as Revised. Upon submission of written application to this
Court, it is hereby

ORDERED that the following attorney(s) are authorized to bring the Personal Electronic
Device(s) and/or the General Purpose Computing Device(s) (collectively, “Devices”) listed below

into the Courthouse for use in a proceeding or trial in the action

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date(s) for which such authorization is provided is (are) Ab) L 1202 3. oxi 1x rer 3
Attorney Device(s)
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Case 1:14-mc-00047-P1 Document 2 Filed 02/27/14 Page 6 of 6

 

 

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(Attach Extra Sheet if Needed)

The attorney(s) identified in this Order must present a copy of this Order when entering the
Courthouse. Bringing any authorized Device(s) into the Courthouse or its Environs constitutes a
certification by the attorney that he or she will comply in all respects with the restrictions and

obligations set forth in Standing Order M10-468, as Revised.
SO ORDERED:

Dated:

 

United States Judge

Revised: February 26, 2014
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHY TOWNSEND GRIFFIN, et.al.,

Plaintiffs,

vs.

EDWARD CHRISTOPHER SHEERAN, et.al.,

 

Defendants.
i
ATTORNEY E-MAIL DEVICE(S)
BENJAMIN
CRUMP Ben@bencrump.com Mobile phone
& laptop
ALEXANDER
STEWART Alexander.Stewart@ Mobile phone,
(Expert) uvm.edu laptop, and
keyboard
KATHY
TOWNSEND
GRIFFIN kathryngt@yahoo. Mobile phone
(Plaintiff) com

ECF CASE
17-CV-5221 (LLS)

ADDENDUM TO APPLICATION

BY COUNSEL(S) FOR

PLAINTIFFS

COURTROOM WIFI
GRANTED

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